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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


COMMONWEALTH OF PENNSYLVANIA, et al.,

                                  Plaintiffs,

            v.

MIGUEL CARDONA, in his official capacity as                 Civil Action No. 20-cv-01468-CJN
Secretary of Education, et al.,

                                Defendants,

            and

FOUNDATION FOR INDIVIDUAL RIGHTS
IN EDUCATION, et al.,

                                Intervenor-Defendants.


                                   JOINT STATUS REPORT
       On September 12, 2023, the parties filed a joint status report requesting that the Court

continue the present stay of all pending briefing deadlines and hold this case in abeyance until

November 10, 2023. Joint Status Report at 2, ECF No. 183. The Court granted the parties’ request

and directed the parties to file an additional joint status report on or before November 10, 2023.

Minute Order, Sept. 25, 2023. In accordance with the Court’s order, the parties have met and
conferred and respectfully file this Joint Status Report.

       1.        This case involves an Administrative Procedure Act challenge to a rule issued by

the U.S. Department of Education, 85 Fed. Reg. 30,026 (May 19, 2020) (“the rule”).

       2.        The following background information has been shared with the Court in the

parties’ prior joint status reports: The President has issued an executive order directing the

Secretary of Education to examine the rule for consistency with Title IX of the Education

Amendments of 1972, 20 U.S.C. 1681 et seq., and existing federal policy, and as part of

implementing that order, the Department of Education has announced a comprehensive review of

the rule. On July 12, 2022, the Department published in the Federal Register a notice of proposed


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rulemaking to amend the rule. Notice of Proposed Rulemaking, Nondiscrimination on the Basis

of Sex in Education Programs or Activities Receiving Federal Financial Assistance, 87 Fed. Reg.

41,390 (July 12, 2022) (“Proposed Rule”). The 60-day comment period for the Proposed Rule

closed on September 12, 2022. On May 26, 2023, the Department’s official blog informed the

public that more than 240,000 public comments had been received in response to the Proposed

Rule. See U.S. Dep’t of Education, HOMEROOM, A Timing Update on Title IX Rulemaking (May

26, 2023). 1 Id. See ECF No. 148 at 1-2, ECF No. 150 at 1; ECF No. 152 at 1; ECF No. 156 at 1;

ECF No. 159 at 1; ECF No. 163 at 1; ECF No. 165 at 1-2; ECF No. 170 at 1-2; ECF No. 172 at 1-

2; ECF No. 175 at 1-2; ECF No. 179 at 1-2; ECF No. 182 at 1-2; ECF No. 183 at 1-2.

         3.      The Office of Management and Budget periodically issues a Unified Agenda of

Regulatory and Deregulatory Actions (Unified Agenda), which reports on administrative agencies’

planned regulatory actions. The Department understands that the Fall 2023 Unified Agenda will

include an anticipated date for publication of the Final Rule.

         4.      In light of the Department’s continuing consideration and review of public

comments on the Proposed Rule, Plaintiffs and Defendants jointly request that the Court continue

the present stay of all pending briefing deadlines and hold this case in abeyance for an additional

sixty-four (64) days, up to and including Friday, January 12, 2024. Because the Department is

exploring administrative actions that may alter the course of this litigation—including the review

of public comments and the release of a final rule—the interests of the parties and of judicial

economy would be well served by continuing the present abeyance to permit the Department to

evaluate potential regulatory changes. See Util. Solid Waste Activities Grp. v. EPA, 901 F.3d 414,

426 (D.C. Cir. 2018); Pharm. Care Mgmt. Ass’n v. U.S. Dep’t of Health & Hum. Servs., No. CV

21-95 (JDB), 2021 WL 624229, at *1 (D.D.C. Jan. 30, 2021) (holding case in abeyance during

pendency of agency’s review of challenged regulation). Intervenor Defendants have informed



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    https://blog.ed.gov/2023/05/a-timing-update-on-title-ix-rulemaking/



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Plaintiffs and Defendants that they do not object to this request. The parties agree to meet and

confer and file a Joint Status Report on or before January 12, 2024.




 Date: November 9, 2023                        Respectfully submitted,

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